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 15                              UNITED STATES DISTRICT COURT

 16                              CENTRAL DISTRICT OF CALIFORNIA

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 18   ERIC GARANT and VALERIE SENIOR,              Case No.: 8:20-cv-01975-DOC-DFM

 19                                             [Hon. David O. Carter]
                   Plaintiffs,
 20                                                JUDGMENT
            v.
 21
      FCA US LLC; TUTTLE-CLICK TUSTIN,
 22   INC., and DOES 1 through 10, inclusive,

 23                Defendants.

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 25

 26

 27

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                                        JUDGMENT
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